
PER CURIAM.
Appellant, an assistant city attorney, was an unclassified employee under the City’s Civil Service Rules. Appellee, the City Attorney, was not required to show good cause at an administrative hearing before revoking her appointment. Section 62(1), City of Miami Charter.1
Affirmed.

. Section 62(1)' of the Charter provides in part: The civil service of the city is hereby divided into the unclassified and the classified service.
(1) The unclassified service shall include:
(d) All attorneys employed by the city. The city attorney shall be the supervisor of all attorneys employed by the city. The city attorney shall have exclusive authority regarding, but not limited to appointment, removal and salary as to assistant city attorneys.

